Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 204-1 Filed: 05/27/22 Page: 1 of 5 PAGEID #: 6367




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION


    MICHAEL GONIDAKIS, et al.,

                   Plaintiffs,
                                                        Circuit Judge Amul R. Thapar
                           v.                           Chief Judge Algenon L. Marbley
                                                        Judge Benjamin J. Beaton
    FRANK LAROSE,

                   Defendant, and                       Case No. 2:22-cv-773

    LEAGUE OF WOMEN VOTERS OF OHIO
    and A. PHILIP RANDOLPH INSTITUTE
    OF OHIO,

                   Intervenor-Defendants.


      MEMORANDUM IN SUPPORT OF INTERVENOR-DEFENDANTS’ MOTION TO
               MODIFY THE COURT’S APRIL 20, 2022 ORDER


          The League of Women Voters of Ohio and the A. Philip Randolph Institute of Ohio,

   (“Intervenor-Defendants”) submit this memorandum in support of their motion to modify the

   court’s April 20, 2022 Order under Federal Rule of Civil Procedure 60(b)(6), or alternatively

   under Rule 60(b)(1). Since the entry of that Order, the majority of the Ohio Redistricting

   Commission has failed to live up to this Court’s assessment that it is constituted of “public

   servants who still view partisan advantage as subordinate to the rule of law.” See PI Order, ECF

   No. 196 at 48 n. 19. On the contrary, after this Court’s ruling, the majority of the Commission

   simply re-enacted the Third Plan—the exact map already struck as unconstitutional by the

   Supreme Court of Ohio. The Supreme Court of Ohio has since struck that map again, and

   directed the Commission to adopt a new General Assembly plan by June 3, 2022. Intervenor-
Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 204-1 Filed: 05/27/22 Page: 2 of 5 PAGEID #: 6368




   Defendants respectfully request that this Court stay its hand until June 6, so that the results of the

   Supreme Court’s order can be considered before this Court acts.

          Federal Rule of Civil Procedure 60(b) provides that “the [C]ourt may relieve a party or its

   legal representative from a final judgment, order, or proceeding” on the basis of “(6) any . . .

   reason that justifies relief.” Fed. R. Civ. P. 60(b)(6). Rule 60(b)(6) calls for “a case-by-case

   inquiry that requires the trial court to intensively balance numerous factors, including the

   competing policies of the finality of judgments and the incessant command of the court’s

   conscience that justice be done in light of all the facts.” Thompson v. Bell, 580 F.3d 423, 442

   (6th Cir. 2009) (internal citation omitted). Rule 60(b)(1) authorizes relief in the event of, in

   relevant part, “when the judge has made a substantive mistake of law or fact in the final

   judgment or order.” United States v. Reyes, 307 F.3d 451, 455 (6th Cir. 2002). The facts

   revealed since this Court’s April 20, 2022 Order reveal that the underpinnings of that Order were

   incorrect, and the unfortunate outcome is severe injustice.

          The Court’s belief that the majority Commissioners intended to maintain even a basic

   degree of fidelity to their roles as public servants, see ECF No. 196 at 48 n. 19, though surely an

   understandable expectation of elected officials, has proven to be sadly mistaken. Despite being

   afforded ample time to enact a new plan, the Ohio Redistricting Commission made no effort to

   adopt any plan other than the unconstitutional Third Plan—and that at the last possible minute.

   When it adopted the Third Plan, it did so fully knowing that plan was unconstitutional. League

   of Women Voters of Ohio v. Ohio Redistricting Comm., Slip Opinion No. 2022-Ohio-1727, ¶ 4

   (May 25, 2022) (ECF No. 203-1) (“On May 5, the commission readopted Map 3, purportedly

   only for use in the 2022 election.”). As three concurring justices of the Supreme Court of Ohio

   observed, the majority Commissioners’ actions amounted to “utter refusal to comply with this




                                                     2
Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 204-1 Filed: 05/27/22 Page: 3 of 5 PAGEID #: 6369




   court’s orders as rulings of law,” and “insistence that they can act in derogation of the law and

   against their oaths to uphold it.” Id. at ¶ 13. In short, the Commission chose partisan advantage

   over the rule of law. Such actions fly in the face of this Court’s efforts to do justice “in light of

   all the facts,” see Thompson, 580 F.3d at 442, and warrant revisiting the April 20 Order.

          On May 25, 2022, the Supreme Court of Ohio invalidated the Third Plan (for the second

   time) and ordered the Ohio Redistricting Commission to adopt an entirely new map, to be filed

   with the Secretary of State by 9:00 a.m. on Friday, June 3, 2022. League of Women Voters of

   Ohio v. Ohio Redistricting Comm., Slip Opinion No. 2022-Ohio-1727, ¶ 6 (May 25, 2022). This

   Court should continue to stay its hand until Monday, June 6, 2022 to permit a short period for the

   Ohio state process to play out and permit the enactment of a new map in compliance with the

   Ohio Constitution, the orders of the Ohio Supreme Court, and the will of Ohio voters. Otherwise

   this court will reward the Ohio Redistricting Commission “for do[ing] nothing, await[ing] a map

   with the desired partisan favoritism, retain[ing] the administrative benefits of an August 2

   primary, and leav[ing] the election calendar unaltered.” ECF No. 196 at 78–79 (Marbley, J.,

   dissenting).1




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    To the degree that this Court’s decision was premised on an August 2, 2022 primary date, it is
   worth noting that at least eight states (Hawaii, Alaska, Wyoming, Florida, Delaware, New
   Hampshire, Rhode Island, and Massachusetts) have primaries occurring August 13 or later. See
   2022 State Primary Election Dates and Filing Deadlines, National Conference of State
   Legislatures available at https://www.ncsl.org/research/elections-and-campaigns/2022-state-
   primary-election-dates-and-filing-deadlines.aspx.


                                                      3
Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 204-1 Filed: 05/27/22 Page: 4 of 5 PAGEID #: 6370




    Dated: May 27, 2022                        Respectfully submitted,

                                               /s/ Freda J. Levenson
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                                           4
Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 204-1 Filed: 05/27/22 Page: 5 of 5 PAGEID #: 6371




                                   CERTIFICATE OF SERVICE

          I , Freda J. Levenson, hereby certify that on this 27th day of May, 2022, I electronically

   filed the foregoing with the Clerk of Court for the United States District Court for the Southern

   District of Ohio, Eastern Division via the ECF system, which will send notification of such filing

   to all counsel of record.



                                                           /s/ Freda J. Levenson
                                                           Freda J. Levenson (0045916)
                                                        Counsel for Intervenor-Defendants




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